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United States District Court
SOUTHERN DISTRICT OF CALIFORNIA

    

 

 

 

John McCurley
Plalatitt Case No. 3:17-cv-986-BAS-AGS
v. PRO HAC VICE APPLICATION
Royal Seas Cruises, Inc. Defendant. Defendant
Party Represented
I, Roy Taub hereby petition the above entitled court to permit me

 

(Applicant)
to appear and participate in this case and in support of petition state:

My firm name: Greenspoon Marder LLP
Street address: 200 East Broward Bivd., Suite: 1800
City, State, ZIP: Fort Lauderdale, FL 33301

Phone number: (954) 491-1120

Email: REV. TA Ra GMLAW. Cavy}

 

 

Thaton = 7/11/05 1 was admitted to practice before State of New York
(Date) (Name of Court)

and am currently in good standing and eligible to practice in said court,

that I am not currently suspended or disbarred in any other court, and

that [)have) [%] havenot) concurrently or within the year preceding this application made

any pro hac vice application to this court.

{If previous application made, complete the following)

Title of case
Case Number Date of Application
Application: [[] Granted (J Denied

I declare under penalty of perjury that the foregoing is te een Corres ned

 

 

 

 

 

(Si Applicant)
IGNAT LOCAL COUNSEL

I hereby designate the below named as associate local counsel.

Blake L. Osborn (323) 880-4522
(Name) (Telephone)

Greenspoon Marder LLP
(Firm)

1875 Century Park East, Suite 1900 Los Angeles 90067
(Street) (Ci Zip code)

(Signature of Applicant)

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I hereby consent to the above designation. yo a

 

(Signature of Designee Attorney)
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Pro Hac Vice (For this one particular occasion)

An attorney who is not a member of the California State Bar, but who is a member in good standing of,
and eligible to practice before, the bar of any United States court or of the highest court of any State or
of any Territory or Insular possession of the United States, who is of good moral character, and who has
been retained to appear in this Court, be permitted to appear and participate in a particular case. An
attorney is not eligible to practice pursuant to this paragraph if any one or more of the following apply
to him/her: (1) he/she resides in California, (2) he/she is regularly employed in California, or (3) he/she
is regularly engaged in business, professional, or other activities in California.

The pro hac vice application shall be presented to the Clerk and shall state under penalty of perjury

(1) the attorney's residence and office address, (2) by what court he/she has been admitted to practice
and the date of admission, he/she is in good standing and eligible to practice in said court,

(4) that he/she is not currently suspended or disbarred in any other court, and (5) if he/she has
concurrently or within the year preceding his/her current application made any pro hac vice application
to this court, the title and the case number of each matter wherein he made application, the date of
application, and whether or not his/her application was granted. He/She shall also designate in his
application a member of the bar of this Court with whom the Court and opposing counsel may readily
communicate regarding the conduct of the case and upon whom papers shall be served. He/She shall
file with such application the address, telephone number and written consent of such designee.

Fee: $206.00
If application and fee require submission via U.S. Mail, please contact:

CASD Attomey Admissions Clerk
(619) 557-5329

The pro hac vice application for Taub, Roy representing Royal Seas Cruises, Inc. is hereby:

[C APPROVED for filing IX] DENIED

Date. 91/25/2021 It is so ordered. (rctdaa. (Difhark
V

Honorable Cynthia Bashant

 
